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EXHIBIT B
Roberts Declaration!

Exhibit Law Firm/Sponsoring Entity Type of Ad
A-2 Abused in Scouting Infomercial
C-1 1-800-LAW-HELP Legal Network TV
C-2 1-800-LA W-HELP Legal Network TV
C-3 1-800-LAW-HELP Legal Network TV
C-4 1-800-LA W-HELP Legal Network TV
C-5 1-800-LAW-HELP Legal Network TV

E Law Office of Cohen & Jaffe, LLP TV
F-1] AVA Law Group, Inc. TV
F-2 AVA Law Group, Inc. TV

G Morelli Law Firm TV

H Morgan & Morgan Attorneys TV

I Scout Abuse Helpline/Greg Jones Law, P.A. TV

Sexual Abuse Survivor Legal

Hla Helpline/Edelson PC Ty

I Slater Slater Schulman LLP TV

M Parker Waichman LLP TV

N Pintas & Mullins Law Firm TV

P All Survivors Advocates Radio

R Junell & Associates Law Firm, PLLC Radio

' Declaration of Evan Roberts in Support of the Debtors’ Motion Pursuant to Section 105(a) of the
Bankruptcy Code and 4 27 of the Bar Date Order for Entry of an Order (I) Supplementing the Bar
Date Order and (II) Granting Related Relief (DI. 1145-3).
